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   Sacramento, CA 95814
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 4   Attorney for MACIAS

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 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 15-0125 GEB
10
                                   Plaintiff,             STIPULATION TO CONTINUE STATUS
11                                                        CONFERENCE
                             v.
12                                                        DATE: November 18, 2016
     BENJAMIN MACIAS                                      TIME: 9:00 a.m.
13                                                        HON GARLAND E. BURRELL JR.
                                  Defendant.
14

15
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
16
     counsel, the undersigned Assistant United States Attorney, attorney for Plaintiff, and the undersigned
17
18   attorney for defendant, that the STATUS CONFERENCE shall be re calendared for November 18, 2016.

19   Defense counsel needs the additional time to review discovery, explore potential defenses, and conduct

20   legal research and factual development. Accordingly, all counsel and defendant agree that time under the

21   Speedy Trial Act from the date this stipulation is lodged, through November 18, 2016 should be excluded in
22
     computing the time within which trial must commence under the Speedy Trial Act, pursuant to Title 18
23
     U.S.C. § 3161 (H)(7)(B)(iv) and Local Code T4 in that the granting of the continuance serves the ends
24
     of justice and outweighs the best interests of the public and the defendant in a speedy trial
25
26
     Dated: October 13, 2016                                  /s/ Mark J. Reichel
27
                                                   By:     MARK J. REICHEL
28                                                         Attorney for Defendant

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 1
                                             BENJAMIN B. WAGNER
 2                                           United States Attorney
 3                                           /s/ Mark J. Reichel for
 4
                                              Paul Hemeseth
 5                                           Assistant U.S. Attorney
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 7
                                         ORDER
 8               IT IS SO ORDERED.
 Dated: October 13, 2016




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